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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                       11/5/2020
 Israel Efrain Rendon, et al.,

                                 Plaintiffs,
                                                          1:19-cv-02482 (PGG) (SDA)
                    -against-
                                                          ORDER FOR
 Continental Hosts, Ltd., et al.,                         TELEPHONE CONFERENCE

                                 Defendants,


 Continental Hosts, Ltd.,

                                 Third-Party
                                 Plaintiff,

                    -against-

 Homestyle Hospitality LLC, et al.,

                                 Third-Party
                                 Defendants.


STEWART D. AARON, United States Magistrate Judge:

       The parties shall appear via Telephone for a conference in the above-captioned matter

on Monday, November 9, 2020, at 3:00 p.m. to address the parties’ discovery disputes. At the

scheduled time, the parties shall each separately call (888) 278-0296 (or (214) 765-0479) and

enter access code 6489745.

SO ORDERED.

DATED:         New York, New York
               November 5, 2020

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                                                  STEWART D. AARON
                                                  United States Magistrate Judge
